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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-299 (RBW)
                                     )
MARIPOSA CASTRO,                     )
                                     )
                  Defendant.         )
____________________________________ )

                                              ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

September 1, 2021, via teleconference, it is hereby

       ORDERED that the parties shall appear before the Court for a plea hearing on

October 1, 2021, at 9:00 a.m., via videoconference. The plea hearing will be conducted via

videoconference at the request of counsel and with the consent of the government and the

defendant. It is further

       ORDERED that, on or before September 27, 2021, the parties shall submit to the Court

the plea documents set out in the General Order Governing Criminal Cases Before the Honorable

Reggie B. Walton, ECF No. 24. It is further

       ORDERED that, with the consent of the parties, the time from September 1, 2021, until

the plea hearing scheduled for October 1, 2021, is excluded under the Speedy Trial Act, in light

of the fact that the parties require additional time to finalize the plea documents in this case.

       SO ORDERED this 1st day of September, 2021.



                                                                ________________________
                                                                REGGIE B. WALTON
                                                                United States District Judge
